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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §               Case No: 7:21-cv-11141
                                      §
vs.                                   §               PATENT CASE
                                      §
DARIOHEALTH CORP.,                    §               JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

against Dariohealth Corp., (“Defendant” or “Dariohealth”) for infringement of United States

Patent No. 9,300,723 (the “ ‘723 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with an address of 1 East Broward

Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Delaware corporation with a principal

place of business at 142 W 57th St. 8th floor, New York, NY 10019. On information and belief,

Defendant may be served through its agent, Vcorp Services, LLC, 1013 Centre Road Suite 403-

B, Wilmington, DE 19805. On information and belief, Defendant may also be served at 40 South



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Lemon Ave, #2167, Walnut, CA, 91789

        5.      This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted business

in this District, and/or has engaged in continuous and systematic activities in this District.

        6.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

                                              VENUE

        7.      On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is a resident of this District. Alternatively, acts of infringement are

occurring in this District and Defendant has a regular and established place of business in this

District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

the ‘723 Patent and sue infringers.

        11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.     Defendant has infringed and continues to infringe one or more claims, including



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at least Claim 1 of the ‘723 Patent by making, using, and/or selling media systems covered by

one or more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the

DarioHealth app, DarioHealth BP monitor, associated software, hardware and/or apps, and any

similar products (“Product”). Defendant has infringed and continues to infringe the ‘723 Patent

in violation of 35 U.S.C. § 271.

       14.     Regarding Claim 1, the Product is a media system. The Product includes a media

system (e.g., health app) configured to allow a user to view a media file (e.g., health data) from

a medical device by a media terminal (e.g., smartphone) from a media node (e.g., medical device)

over a communication network (e.g., Bluetooth network) through a communication link. Certain

aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




       15.     The Product includes at least one media terminal disposed in an accessible


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relation to at least one interactive computer network. For example, the Bluetooth network is used

for sending health data from a media node (medical device) by detecting a smartphone (at least

one media terminal) when the Product’s app is installed on the smartphone and connected with

the Product’s media node through a Bluetooth network (i.e., the smartphone is in an accessible

relationship with the interactive computer network). Certain aspects of this element are

illustrated in the screenshots below and/or in those provided in connection with other allegations

herein.




          16.   A wireless range is structured to permit authorized access to the at least one

interactive computer network. For example, the Bluetooth signals of the Product’s medical

device (media node) have a range within which the smartphone (media terminal) may connect.




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       17.     At least one media node is disposable within the wireless range, wherein the at

least one media node is detectable by the at least one media terminal. For example, the Product’s

medical device (media node) is detectable by the media terminal (smartphone). Certain aspects

of this element are illustrated in the screenshots below and/or those provided in connection with

other allegations herein.




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       18.     At least one digital media file is initially disposed on at least one of the at least

one media terminal or the at least one media node and the at least one media terminal is structured

to detect the at least one media node disposed within the wireless range. For example, the health

data is initially disposed on the media node (medical device/monitor) and the media terminal can

detect the medical device when it is within the appropriate range. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       19.    A communication link is structured to dispose the at least one media terminal and

the at least one media node in a communicative relation with one another via the at least one

interactive computer network. For example, the smartphone and medical device are in a

communicative relation over the Bluetooth network.




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       20.     The communication link is initiated by the at least one media terminal. For

example, when the user turns on Bluetooth on the smartphone (media terminal), the smartphone

initiates the communication link.




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       21.    The at least one media node and the at least one media terminal are structured to

transmit the at least one digital media file therebetween via the communication link. For

example, the smartphone/app and the medical device are structured to transmit health data from

the device to the smartphone over the wireless network.




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        22.     The communication link is structured to bypass at least one media terminal

security measure for a limited permissible use of the communication link by the media node to

only transferring the at least one digital media file to, and displaying the at least one digital media

file on, the at least one media terminal. For example, the communication link is structured so

that whenever the user installs the Product’s app on the smartphone (media terminal), the

smartphone automatically connects (bypassing any security measures) with the Product’s

medical device through Bluetooth code (i.e., media terminal security) whenever the smartphone

comes to the range of the Bluetooth signals (for the limited purpose of transferring data form the

device to the smartphone).




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        23.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

        24.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

        25.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                               JURY DEMAND

        26.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.




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                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,300,723 (or, in the

alternative, awarding Plaintiff running royalties from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: December 29, 2021.           Respectfully submitted,



                                    /s/ Jay Johnson
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